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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                  File No: 1:07-CR-261
v.
                                                                  HON. ROBERT J. JONKER
THOMAS RANDALL KENT,

                  Defendant.
                                       /


                                    ORDER AND JUDGMENT
                           APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States Magistrate Judge

in this action. The Report and Recommendation was served on the parties, and no objection has been filed

within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.       The Report and Recommendation of the Magistrate Judge (docket # 124) is approved and

adopted as the Opinion and Findings of this Court.

         2.       Defendant Thomas Randall Kent's plea of guilty to Count 1 of the Superseding Indictment

is accepted. Defendant Thomas Randall Kent is adjudicated guilty and bond will be revoked at the time of

reporting.

         3.       Defendant Thomas Randall Kent shall report to the United States Marshal in Grand Rapids,

Michigan, at 2:00 p.m., March 11, 2008. Defendant Thomas Randall Kent shall be detained pending

sentencing, based on the mandatory provisions of 18 U.S.C. § 3143(a).

         4.       A decision of whether to accept the written plea agreement will be made at the time of

sentencing after the Court has had the opportunity to review the Presentence Investigation Report. See

U.S.S.G. Ch. 6.




Dated:        March 7, 2008                               /s/ Robert J. Jonker
                                                          ROBERT J. JONKER
                                                          UNITED STATES DISTRICT JUDGE
